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United Stéies S27krucicy Court jor the: I MUL 0 2 2019

Bisirictof_ ( GLER
—aoa (State) : ERK, U.S. BANKRUPTeY ceu
cose - Chapter _V | NORTHERN DISTRICT OF Texas CD Check if this is an

amended filing

Fett

  

Official Form 207
Vol.) os. 6n Yor Non-individuals Filing for Bankruptcy 04/19

: @ separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
‘3 information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

 

   
  

If more spz.s:
number (if k..

1. Bebiors 0. LOREC Lisle Lellilltil SL tice ZA

 

 

 

 

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. " ‘ P F Ep Jay
2 Doses OY 3424749 ea,
idenu! t — — a Tol tay,
i Os - -, “
7 hes Tr
4. Debtor: 2. gnc Principal place of business Malling address, if different from principal place

of business

1212 Z. Aig. Ho Dk. SOY Ex, Syne Lf.
Number Street Number Street -

SK Ll P.O. Box
fic Witbd0n Ti 26 0t/ — Atinjule Tx 25067

City State ZIP Code

 

 

 

Location of principal assets, if different from

O4/ As principal place of business

County 7

 

Number Street

 

 

City State ZIP Code

& Debtors .c.ahe (URL) k/ LAW. Sa Lesh; Hb SPL LC. COW?

Corporation {including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
(2! Partnership (excluding LLP)
LJ Other. Specify:

 

Official Forr: 20° Veiuntary Petition for Non-Individuals Filing for Bankruptcy page 1
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CLL

A. Check one:

oy? Case number (if known)

own — OLE CLE,

   

 

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7 Deseovi:.. nS Aes
[.) Health Care Business (as defined in 11 U.S.C. § 101(27A))

(C! Sing!e Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
1 Raliroad (as defined in 11 U.S.C. § 101(44))

i! Stockbroker (as defined in 11 U.S.C. § 101(53A))

C2 Commodity Broker (as defined in 11 U.S.C. § 101(6))

ol ig Bank (as defined in 11 U.S.C. § 781(3))

None of the above

  

S. Check all thet apply:
2 Tax-exempt entity (as described in 26 U.S.C. § 501)

-
toe!

: Invesiment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)
i. investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

c. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
hiza/Aweny uscourts.gov/four-digit-national-association-naics-codes .

 

 

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Chepter 11, Cpecporta apply.
Debtor's aggregate noncontingent liquidated debts (excluding debts owed to

insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

QQ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax retum or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

   
 

( A plan is being filed with this petition.

im Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form,

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

 

 

 

 

 

 

 

12b-2.
= ua No
aaah 3 Yes. istrict When Case number
MM/ DD/YYYY
° Disiiict When Case number
MM/ DD /YYYY
, Lf No
4 ~ L. Yes. Debtor Relationship
. District When
ist gllore 1o08 me! MM / DD /YYYY
aden © Case number, if known
Ose Valuntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Saale his Cieck all that apply:

Case number (i known).

 

 

““Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

(Li A bankruptey case concerning debtor's affiliate, general partner, or partnership is pending in this district.

TO or Have & No

Li Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

“eS GlEus Why does the property need immediate attention? (Check aff that apply.)

 

C] It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

(I It needs to be physically secured or protected from the weather.

LJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
asseis or other options).

(3 Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

C} No

Ci Yes. Insurance agency

 

Contact name

 

Phone

 

tivive-ive information

  

 

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Creck one:

=

Ls Eafids will be available for distribution to unsecured creditors.
\% After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 
 
   

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14. Ester () 5C-89 (el 5,001-10,000 CL) 50,001-100,000
Chet [> 400-199 C) 10,001-25,000 (2 More than 100,000
= 200-999
(-. $0-$50,000 LI $1,000,001-$10 million C) $500,000,001-$1 billion
15. Belin. L.. $86,081-$100,000 C} $10,000,001-$50 million [L) $1,000,000,001-$10 billion
{:

970,001-$500,000 C) $50,000,001-$100 million LJ $10,000,000,001-$50 billion
3500,001-$1 million 2 $100,000,001-$500 million C) More than $50 billion

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Oicie * ‘/oluntaiy Petition for Non-Individuais Filing for Bankruptcy page 3
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Debtor Patecls LNLUE L LY WL iY fe Op ‘ § Case number (i known),

 

- C2 $0-$50,000 CJ $1,000,001-$10 million CQ) $500,000,001-$1 billion
16. Esme «. a i... $20,001-$100,000 U) $10,000,001-$50 million Q $1,000,000,001-$10 billion
¥°$%00,C01-$500,000 () $50,000,001-$100 million C) $10,000,000,001-$50 billion
t.| $500,001-$1 million CJ $100,000,001-$500 million C) More than $50 billion

ote 0, Caachaoothe ns, camel Signatures

 

 

& crime. Making a false statement in connection with a bankruptcy case can result in fines up to
fer up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

    

 

 

 

 

 

 

 

 

 

 

 

see ‘tne debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
eur = « paiition.
esc
| gve been authorized to file this petition on behalf of the debtor.
| Rave examined the information in this petition and have a reasonable belief that the information is true and
correct.
Ceciara under penalty of perjury that the foregoing is true and correct.
Evsouted on 7-O O/ ROI Cs
a—~ MM, / ph | Ip
! :
MN Dt. #7 hia LUipthed Creer?
igéte if urgfe authorized representative of of debtor Printed name
Tle TP be Sipen F
ie ne 2?
18. Dit, Date
Signature of attorney for debtor MM /DD /YYYY
Prnted name
Firm name
umber Sireet
ony State ZIP Code
CSoniact phone Email address
Sas number State
OR sis Voluniary Petition for Non-Individuals Filing for Bankruptcy page 4
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Debtor 1

Case number (i known),

 

Fees. Neme Middle Nam

 

Last Name

 

Creditor's Mame

 

Number Street

 

 

City Stete ZIP Cade

 

Contact

Contact phone

 

 

" Graditors Neme

 

Number Sweat

 

 

City State ZIP Code

 

Contact

Conluct ptione ~

 

 

Creditor's Name

 

Number Street

 

 

City State ZIP Gode

 

Cont-ct

Contact phon-

Sign Selow

Tan

 

Unsecured claim

What is the nature of the claim? $
~~ a
As of the date yau file, the claim is: Check all that apply.
QO Contingent
C) unliquidated
Q Disputed

(C} None of the above apply
Does the creditor have a lien on your property?

 

 

CQ) No

CD Yes. Total claim (secured and unsecured): $
Value of security: = $
Unsecured claim $

EEE

What is the nature of the claim?

As of the date you file, the claim is: Check all that apply.
Q Contingent

Cd Uniiquidated

QO Disputed

C1 None of the above apply

Does the creditor have a lien on your property?

 

 

QO) No

(2 Yes. Total claim (secured and unsecured): §
Vaiue of security: = $
Unsecured claim $

Ki

Whai is the nature of the claim?

As of the date you file, the claim is: Check all that apply.
Q) Contingent

O) unliquidated

QO Disputed

(1 None of the above apply

Does the creditor have a lien on your property?

 

 

1 Ne

QO) Yes. Total claim (secured and unsecured): §
Value of security: = $
Unsecured claim $

Ki

 

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Official Form 104

For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

B:

Signature of Debtor 2

Date
MM/ DD/ YYYY

page 5
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BTXN 094 (rev, 5/04)

UNITEG STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

Case No.:

" Fpaec b State
Dus Hei
Senvive, EAC

Seite, Debtor(s)

COR GGA U2 CGR GA ton On

VERIFICATION OF MAILING LIST

“15 2 Sotor(s} certifies that the attached mailing list (only one option may be selected per

  

# ‘s he first mai! matrix in this case.
-. (dds entities not listed on previously filed mailing list(s).
— changes or corrects name(s) and address(es) on previously filed mailing list(s).

-- <elotes neme(s) and address(es) on previously filed mailing list(s).

 .woel lance wita N.D, TX L.B.R. 1007.1, the above named Debtor(s) hereby verifies
=. £tLel ist of eveditors is true and correct.

 

_0)-0 l- 20 (9

Signature of Attorney (if applicable)

$3187 O4-3929949

Debtor’s Social Security (last four digits only) /Tax ID No.

 

 

 

e

‘clor Gf epplicable) Joint Debtor’s Social Security (last four digits only) /Tax ID No.
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Matrix Creditors

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Lgcn cna Davenport

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